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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

In re: Application Pursuant to         )
28 U.S.C. 1782 of                      )
                                       )
FARHAD AZIMA                           )                   Case No.: 22-20707-MC-MARTINEZ
                                       )
           Petitioner,                 )
v.                                     )
                                       )
INSIGHT ANALYSIS AND RESEARCH,         )
LLC, and SDC-GADOT LLC,                )
                                       )
           Respondents,                )
                                       )
_______________________________________)

NOTICE OF SERVICE OF RESPONDENT, INSIGHT ANALYSIS AND RESEARCH, LLC’S
  RESPONSE TO PETITIONER’S SUBPOENA FOR PRODUCTION OF DOCUMENTS
                         DATED MARCH 11, 2022

       Respondent, INSIGHT ANALYSIS AND RESEARCH, LLC, hereby provides Notice of the

Service of its responses to Petitioner’s Subpoena for Production of Documents dated March 11, 2022,

on this 14th day of June, 2022, in the form as follows in the attachment hereto.

                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 14th day of June, 2022, that a true and correct
copy of the foregoing has been filed through the Court’s CM/ECF-filing portal and that a true copy
has been served through the portal upon all counsel of record in this action.

                                                 Respectfully submitted,

                                             By: /s/ Christopher S. Salivar, Esq.
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